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                       IN THE UNITE,D STATI,S DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DTVISION


PAL]LA B. CURRIt.].                                Civil Action No. I :24-cv- I 959

and                                                JUDCE Rebecca R. Pallmeyer

MEGAN FINNT]GAN-RA]'LIF IJ.


                             I'laintitl'.s.                 FILED
MY FAV ELI]CTRONICS, INC..
                                                               ocl 21202f
dba SECOND LIFE MAC. C/O DAVID J.                       THOMAS G, BRUTON
                                                      CLERKUS DISTRICTCOURT

                             [)clcndant


                        NOTICE OF WITTIDRAWAL OF C0T]NSEL

       Attomeys John Marshall and Madeline Renig and the law llrm of Marshall. Forman and
Schlein hereby gives notice oftheir withdrawal as counsel lor Megan Ratliffand Paula Currie in
the above captioned malter.



                                                   Respectf'ully submitted,



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                                 CERTIFICA'I'E O['SERVICE

       This is to certify that a copy of the foregoing was mailed to the Courr on this lOrh day of

September. 2024. using the CM/ECF system, which will send notification of such filing ro

all counsel ofrecord. Parties may access this filing through the court's filing system.



                                                          By:     /s/ John S. Marshall
                                                          John S. Marshall (001 5 160)
